September 28, 2022

Via E-mail
The Honorable Sarah L. Cave
United States Magistrate Judge
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

        Re:      Catherine McKoy, et al. v. Trump Corp., et al., No. 1:18-cv-9936 (LGS)

Dear Judge Cave:

       This firm, along with Lewis Brisbois Bisgaard & Smith LLP, represents the Defendants in
the above-referenced action.1

        We write in response to the letter from Plaintiffs’ counsel to the Court requesting an order
directing Defendants to reschedule the deposition of President Donald J. Trump.

        Plaintiffs’ letter is riddled with disingenuous and misleading statements and fails to
correctly report the events that transpired prior to Plaintiffs’ hasty request to cancel the long-
standing deposition of President Trump. In actual fact, we thought it absolutely absurd to travel
from the New York area to West Palm Beach in the middle of a hurricane and would have been
pleased to reschedule the deposition to another date, but Plaintiffs insisted that it proceed.

         On Sunday, September 25, 2022, I received an e-mail from Plaintiffs’ counsel John Quinn,
a copy of which is annexed hereto as Exhibit A, in which he mentioned the then-impending storm
and the upcoming deposition. In that e-mail, Mr. Quinn stated in no uncertain terms that “[w]e
want to keep the date and are fine to go down there [i.e., to West Palm Beach].” Given Mr. Quinn’s
e-mail, my partner and I (along with Ms. Habba) rearranged our travel plans to arrive in West Palm
Beach last night. Prior to Ms. Habba boarding her flight yesterday (as she was the first of us to
depart) and having to fly through a hurricane, I contacted Mr. Quinn to confirm whether Plaintiffs
still intended to proceed with the deposition, asking if “all systems were a go for Friday.” Mr.
Quinn again, in no uncertain terms, replied “yes.”


1
 Donald J. Trump, in his personal capacity, is also represented by Alina Habba, Esq. (“Ms. Habba”) of Habba Madaio
& Associates, LLP.
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        Now that we have all traveled to West Palm Beach, and are currently sitting in the middle
of a hurricane while Plaintiffs’ counsel enjoys the comforts of home, Plaintiffs have the gall to
request that the deposition for which Defendants spent considerable time and resources preparing
be cancelled less than 48 hours prior to its scheduled date and time. Worse yet, Plaintiffs attempt
to convey to the public the false impression that it is Defendants who are being unreasonable, when
there is little doubt that had Defendants sought to cancel the deposition Plaintiffs would have
claimed that President Trump was refusing to appear.

        President Trump stands ready, willing and able to proceed with his deposition on Friday.
As such, we respectfully request that the Court order the deposition to proceed remotely by Zoom®
for the safety and security of all parties, and to comply with the fact discovery deadline.

       Should the Court have any questions, we are available for a telephone conference.

                                                            Respectfully submitted,

                                                            ROBERT & ROBERT PLLC

                                                            Clifford S. Robert
                                                            CLIFFORD S. ROBERT

cc:    All Counsel of Record (via ECF)
EXHIBIT “A”
From: John Quinn <jquinn@kaplanhecker.com>
Date: September 25, 2022 at 12:12:01 PM EDT
To: Clifford Robert <crobert@robertlaw.com>
Subject: Tropical Storm Ian


Hi Cliff –

We’ve been watching the reports about the hurricane threat next week and wanted to touch base with
you about location ahead of the holiday. We want to keep the date and are fine to go down there, but
we’re concerned there will be last‐minute flight cancellations or other closures, and our hotel has a 2‐
day cancellation policy. We’re also not sure the videographer and court reporter will be able to get to
the location day of. And it occurred to us that former President Trump might end up relocating to one
of his other properties to avoid the storm. Under the circumstances, it seems to us it’d be a lot easier to
relocate the deposition to Bedminster. Up to you, and again, we’re fine to go down there, but please let
us know your thinking on this when you can.

Thanks,
John

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message from your computer system. Thank you.




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